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                           iN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

  ALEX KAPANADZE,

                                 Plaintiff,     CIVIL ACTION NO. 3:1 7-CV-02 181 -FLW-TJB

                  V.


  CITIBANK,

                                 Defendant.




                          STIPULATION OF DISMISSAL WITH P1.EJUDICE
                                AND WITHOUT FEES AND COSTS



                   Plaintiff, Alex Kapanadze and Defendant Citibank, N.A., by and through their

   undersigned counsel, and pursuant to Fed. R. Civ. P. 41 (a)( 1 )(A)(ii), hereby stipulate and agree

   that plaintiffs claims in the above-captioned matter shall be and are DISMISSED WITH

   PREJUDICE and without taxation of attorneys’ fees or costs of any kind against any party.



   /s/ Edward B. Geller                        /s/ William Reiley
   Edward B. Geller, Esquire                   William Reiley, Esquire
   Of Counsel to M. Harvey Rephen &            reileyw@ballardspahr.com
   Associates, P.C.                            BALLARD $PAHR LLP
    15 Landing Way                             210 Lake Drive East, Suite 200
   Bronx, New York 10464                       Cherry Hill, NJ 08002
   T: 914.473.6783                             T: 856.761.3400
                                               F: 856.761.1020

   Attorneys for Plaintif                      Attorneys for Defendant


   DATED: November 12, 2018                     DATED: November 12, 2018


                                              It is further ordered that the Clerk of the Court
                                              is directed to reopen this action and upon entry
                                              of this order, the case and docket shall be marked closed.
                                               IT IS $0 ORDERED:
    DMEAST #35949367 vi                                           IJ
                                               FREDA L WOLFSON, U,S.D.J.             i;- i 3-I
